       2:17-cr-20037-JES-JEH # 101        Page 1 of 11                                        E-FILED
                                                                  Friday, 24 August, 2018 05:22:09 PM
                                                                          Clerk, U.S. District Court, ILCD

                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )
                                          )
vs.                                       )        Crim. No. 17-20037
                                          )
BRENDT A. CHRISTENSEN,                    )        Hearing Requested
                                          )
       Defendant.                         )

       MOTION TO STRIKE NON-STATUTORY AGGRAVATING FACTOR OF
                   “OBSTRUCTION OF INVESTIGATION”

       NOW COMES the Defendant, BRENDT A. CHRISTENSEN, by and through his

attorneys, and moves this Court pursuant to the Scheduling Order entered on February

14, 2018 (R. 67), to strike the non-statutory aggravating factor of Obstruction of

Investigation included in the government’s Notice of Intent to Seek the Death Penalty.

(R. 54), and in support of the Motion states as follows:


I.     Procedural History

       On July 12, 2017, Defendant BRENDT A. CHRISTENSEN was charged by

Indictment with one count of kidnapping in violation of 18 U.S.C. § 1201(a)(1). (R. 13) A

Superseding Indictment was filed on October 3, 2017, alleging one count of kidnapping

resulting in death in violation of 18 U.S.C. § 1201(a)(1) and two counts of false

statements in violation of 18 U.S.C. § 1001(a)(2). The Superseding Indictment also

contained a Notice of Special Findings listing four gateway intent factors under 18

U.S.C. § 3591(a)(2) and three statutory aggravating factors under 18 U.S.C. § 3592(c):
                                              1 
 
       2:17-cr-20037-JES-JEH # 101         Page 2 of 11



that Y.Z.’s death occurred during the commission of a kidnapping (Section 3592(c)(1));

that the defendant committed the offense in an especially heinous, cruel or depraved

manner (Section 3592(c)(6)); and that the defendant committed the offense after

substantial planning and premeditation (Section 3592(c)(9)). (R. 26)

       Count 1 of the Superseding Indictment was a death-eligible charge, and on

January 19, 2018, the government filed its Notice of Intent to seek the death penalty

(NOI). (R. 54) The NOI re-alleged the four intent factors as well as the three statutory

aggravating factors contained in the Superseding Indictment and added six non-

statutory aggravating factors: victim impact evidence, future dangerousness, lack of

remorse, other serious acts of violence, vulnerable victim, and obstruction of justice. (R.

54) As to the sixth of these factors, the government stated:

               6.    Obstruction. The defendant attempted to obstruct the

       investigation of this offense by, at least, making false statements to

       investigators; destroying or concealing the victim’s remains; and

       sanitizing the crime scene.

(R. 54 at 4)

       It is our understanding that, in support of this circumstance, the government

intends to rely upon evidence presented at the guilt phase as part of the res gestae of the

crime rather than introducing additional evidence at the penalty phase. There is, of

course, no restriction on the government’s ability to argue the properly admitted facts

and circumstances of the crime to the jury at the penalty phase in support of its

argument that the jury should impose a sentence of death. See, e.g., Tuilaepa v. California,

                                             2 
 
       2:17-cr-20037-JES-JEH # 101         Page 3 of 11



512 U.S. 967, 9760 (1994) (“our capital jurisprudence has established that the sentencer

should consider the circumstances of the crime in deciding whether to impose the death

penalty”). However, by designating certain of those facts as a non-statutory aggravating

circumstance, the government is essentially seeking an unwarranted judicial

imprimatur on the force and legitimacy of its argument. This request should be denied.

II.    The Law Governing Non-Statutory Aggravating Circumstances

       The constitutional and statutory requirements for the proper designation of non-

statutory aggravating factors are set forth in detail in the opinion of District Judge

Payne in United States v. Friend, 92 F. Supp. 2d 534, (E.D. VA 2000). “’To pass

constitutional muster, a capital sentencing scheme must genuinely narrow the class or

persons eligible for the death penalty and must reasonably justify the imposition of a

more severe sentence on the defendant compared to others found guilty of murder.’” Id.

at 540 (quoting Lowenfeld v. Phelps, 484 U.S. 231, 244 (1988) (emphasis omitted). The

jury’s “’discretion . . . [must] be suitably directed and limited so as to minimize the risk

of wholly arbitrary and capricious action.” Id. (quoting Gregg v. Georgia, 428 U.S. 153,

188-89 (1976)).

       One way in which the Federal Death Penalty Act attempts to accomplish the

constitutionally required narrowing is by prescribing that both statutory and non-

statutory aggravating factors may be submitted to the jury to guide their sentencing

determination. Id. at 541. “[N]onstatutory aggravating factors assume great significance

in the selection decision because, along with the statutory aggravating factors, they are




                                              3 
 
       2:17-cr-20037-JES-JEH # 101          Page 4 of 11



weighed against the mitigating factors in order to make the decision whether to impose

the death penalty.” Id.  

       There are three requirements that a proposed aggravating factor must meet in

order to be constitutionally valid. First, it must not be overbroad, i.e., it must not apply

to all or nearly all murders. Id. at 541-42 (quoting Tuilaepa, 512 U.S. at 972). If a

purported aggravating factor is present in the vast majority of all murder cases, it

provides no principled basis upon which to distinguish between those which are

deserving of the death penalty and those that are not. Id. See also United States v.

Sampson, 335 F. Supp. 2d 166, 215-16 (D. Mass. 2004) (same) Second, an aggravating

factor may not be unconstitutionally vague. Friend, 92 F. Supp. 2d at 541 (citing Tuilaepa,

512 U.S. at 972). Rather, it must have “’a common-sense core of meaning that criminal

juries should be capable of understanding’ in order to provide constitutionally

acceptable guidance.” Id. (quoting Tuilaepa, 512 U.S. at 973).

       Third, an aggravating factor must be “focused on circumstances that are

considered by civilized society to be ‘particularly relevant to the sentencing decision.’”

Id. (quoting Gregg, 428 U.S. at 192). It must raise “an issue which (a) is of sufficient

seriousness in the scale of societal values to be weighed in selecting who is to live or die;

and (b) is imbued with a sufficient degree of logical and legal probity to permit the

weighing process to produce a reliable outcome.” Id. at 543. Whether a proposed

aggravator meets these criteria must be assessed in accordance with the heightened

reliability that is required when deciding issues that bear on the determination of

whether to sentence a person to death. Id. at 542.

                                               4 
 
       2:17-cr-20037-JES-JEH # 101         Page 5 of 11



       A useful comparison may be made of a proposed non-statutory aggravator to the

statutory aggravating factors that Congress deemed “’substantial enough to sustain the

death penalty for a particular offender.’” Id. at 544 (quoting United States v. Davis, 912 F.

Supp. 2d 938, 944 (E.D. La. 1996)). These 16 statutory factors all have “a substantial

degree of gravity,” rendering them suitable to be considered is determining who should

live and who should die. Id. Each represents a quality of conduct or personal

characteristic of the defendant that has earned widespread acceptance in society as

genuinely probative of death-worthiness. Id. Nothing less will do when it comes to

proposed non-statutory aggravators. Id.

III.   The Government’s Proposed Obstruction Aggravating Factor Fails to Satisfy
       the Constitutional and Statutory Requirements for a Valid Non-Statutory
       Aggravator

       a. The Proposed Obstruction Aggravating Factor is Overbroad

       The conduct constituting obstruction that the government alleges Mr.

Christensen engaged in is almost banal in its ubiquity in criminal cases – especially

homicide cases. Essentially, the government alleges that he took steps to avoid

detection. He disposed of the body, cleaned the crime scene and declined to admit guilt

to law enforcement investigators. (R. 54 at 4) Rare, indeed, is the perpetrator of a

murder who is indifferent to his chances of being apprehended and punished by

authorities and who does not take steps to attempt to avoid that outcome. See United

States v. Jacques, No. 2:08-cr-117 at 58 (D. Vt. May 4, 2011) (striking non-statutory

aggravating factor of manipulation and deception of the justice system from

government’s notice of intent because “[m]ost, if not all, offenders who appear before a

                                              5 
 
       2:17-cr-20037-JES-JEH # 101        Page 6 of 11



parole board, or some other authority charged with deciding upon the timing of their

release, attempt to convince that authority that they are rehabilitated and worthy of

release” as defendant allegedly did).

       Such conduct stands in stark contrast to, say, obstruction by threats or violence

towards potential witnesses, which is far less common and therefore not overbroad

when used as a non-statutory aggravator. See, e.g., Friend, 92 F. Supp. 2d at 542 (finding

that discussion of possible attempt on the life of a witness was conduct that applies only

to a subclass of defendants convicted of murder and was therefore not overbroad,

though declining to allow aggravator on other grounds); United States v. Grande, 353 F.

Supp. 2d 623, 641 (E.D. Va. 2005) (declining to find obstruction of justice aggravating

factor overbroad where defendant threatened to kill potential witnesses). Simple

covering of ones tracks during and after the commission of the crime is simply too

common of a circumstance to provide a principled basis on which to determine whether

a person lives or dies.

       b. The Proposed Obstruction Aggravating Factor is Unconstitutionally Vague

       “Obstructive conduct can vary widely in nature, degree of planning, and

seriousness.“ U.S. Sentencing Guidelines Manual § 3C1.1 cmt. n. 3 (U.S. Sentencing

Comm’n 2016). The government’s proposed aggravator offers the jury no guidance

whatsoever on how to make the determination of whether Mr. Christensen’s alleged

conduct constitutes obstruction of an investigation. The phrase has no “common-sense

core of meaning” to a lay person; rather, it is a legal term of art. How the jury would




                                             6 
 
       2:17-cr-20037-JES-JEH # 101          Page 7 of 11



interpret it, then, “can only be the subject of sheer speculation,” Godfrey v. Georgia, 446

U.S. 420, 429 (1980), and it is therefore unconstitutionally vague.

       c. The Proposed Obstruction Aggravating Factor has no Relevance to the
          Jury’s Sentencing Determination

       The alleged conduct that the government claims amounted to obstruction of an

investigation fails to raise an issue of sufficient seriousness to justify weighing it in the

decision as to whether Mr. Christensen should live or die. Firstly, with the arguable

exception of making false statements to investigators, the listed conduct does not even

describe a crime. And, even including the alleged false statements, the conduct certainly

does not constitute the crime of obstruction of justice. Second, the conduct is

insufficiently serious to justify an obstruction enhancement of even a non-capital prison

sentence under the U.S. Sentencing Guidelines. It is therefore manifestly inappropriate

to suggest that it is relevant to the decision of whether to impose a death sentence.

          i. The alleged conduct is insufficient to establish the crime of obstruction

       As the district court found in Friend, 92 F. Supp. 2d at 544, there is no case in

which unadjudicated misconduct not itself a crime has been permitted to constitute a

freestanding, nonstatutory aggravating factor. Under federal law, the crime of

obstruction is defined by 18 U.S.C. § 1503(a). “To prove an obstruction of justice charge

under § 1503, the government must show, beyond a reasonable doubt, that there was a

pending judicial proceeding, that the defendant was aware of that proceeding, and that

the defendant corruptly intended to impede the administration of that judicial

proceeding.” United States v. Fassnacht, 332 F.3d 440, 447 (7th Cir. 2003). Plainly, at the


                                               7 
 
       2:17-cr-20037-JES-JEH # 101          Page 8 of 11



time of the alleged conduct in this case, there was no pending judicial proceeding. For

that reason alone, the conduct fails to make out a case of obstruction. See id. at 446 (an

attempt to impede an investigation is insufficient to support a conviction under the

obstruction statute).

          ii.      The alleged conduct is insufficient to justify an enhancement of a
                   non-capital sentence under the U.S. Sentencing Guidelines

       The conduct alleged by the government to constitute obstruction of an

investigation is insufficiently serious to trigger an enhancement for obstruction under

the U.S. Sentencing Guidelines. The applicable Guidelines provision states:

                If (1) the defendant willfully obstructed or impeded, or
                attempted to obstruct or impede, the administration of
                justice with respect to the investigation, prosecution, or
                sentencing of the instant offense of conviction, and (2) the
                obstructive conduct related to (A) the defendant’s offense of
                conviction and any relevant conduct; or (B) a closely related
                offense, increase the offense level by 2 levels.

U.S. Sentencing Guidelines Manual § 3C1.1 (U.S. Sentencing Comm’n 2016).

       To assist courts in determining when this enhancement should be applied, the

Commentary sets forth examples of conduct that is intended to be covered by the

guideline, and of “less serious” conduct that is not. Id. at cmt. n. 4-5. As relevant here,

“making false statements, not under oath, to law enforcement officers” is conduct that is

expressly excluded from the purview of the enhancement, unless the false statements

were material and “significantly obstructed or impeded the official investigation or

prosecution of the instant offense.” Id. at cmt. n. 4(G), 5(B).




                                               8 
 
       2:17-cr-20037-JES-JEH # 101         Page 9 of 11



       The alleged false statements that Mr. Christensen made to law enforcement

caused no significant obstruction of, or impediment to, the investigation or prosecution

in this case. The investigation proceeded apace and Mr. Christensen was arrested in due

course. The investigating officers clearly continued to believe in his guilt,

notwithstanding his denials, and put together their case in precisely the same manner

that they would have done had Mr. Christensen opted never to talk to them. Mr.

Christensen’s denials did not mislead the officers, nor did they send the officers on a

wild goose chase or otherwise cause them to expend time and resources on fruitless

investigation. The obstruction enhancement would therefore be inapplicable to these

alleged false statements. See United States v. Fiala, 929 F.2d 285, 289-90 (7th Cir. 1991)

(holding that defendant’s denial of guilt during search of car was neither material nor a

significant obstruction of troopers’ investigation and reversing application of

obstruction enhancement); United States v. Shriver, 967 F. 2d 572, 575 (11th Cir. 1992)

(reversing application of obstruction enhancement where investigating officer was

never misled or deceived by defendant’s false statement and thus no significant

obstruction occurred).

       The remaining alleged obstructive conduct, “destroying or concealing the

victim’s remains” and “sanitizing the crime scene,” similarly fails to rise to the level of

seriousness that would trigger an obstruction enhancement in an ordinary, non-capital

case. § 3c1.1 cmt. n.4(D) allows the enhancement for “destroying or concealing . . .

evidence that is material to an official investigation.” However, the enhancement is only

applicable if the conduct occurs “during an official investigation,“ i.e., while there is

                                              9 
 
       2:17-cr-20037-JES-JEH # 101         Page 10 of 11



“investigative action by federal law enforcement or government employees ‘acting

within the course and in furtherance of their official duties.’” United States v. Ross, 77

F.3d 1525, 1549 (7th Cir. 1996) (quoting United States v. Kirkland, 985 F.2d 535, 537 (11th

Cir. 1996)).

       The alleged concealment of evidence in this case was necessarily part and parcel

of the crime itself and took place prior to the commencement of the official

investigation, hence the obstruction enhancement would not apply to a non-capital

prison sentence. It is therefore manifestly inappropriate to stack it on death’s side of the

scales in a capital punishment proceeding.

       WHEREFORE, Defendant respectfully requests that the Court strike the

proposed non-statutory aggravating circumstance of obstruction of an investigation.

               Respectfully submitted,

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                                             10 
 
      2:17-cr-20037-JES-JEH # 101        Page 11 of 11



                              CERTIFICATE OF SERVICE

      I hereby certify that on August 24, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller and

Trial Attorney James B. Nelson. A copy was also mailed to the defendant.


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